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         UNITED STATES COURT OF APPEALS FOR THE THIRD CIRCUIT
                                                    June 4, 2019
                                                    CCO-081
                              No. 19-8019

                              Sam Hargrove, Andre Hall;
            Marco Eusebio, individually and on behalf of all similarly situated,
                                       Petitioners

                                                  v.

                                            Sleepys LLC

                                                  v.

              I Stealth LLC; Eusebios Trucking Corp.; Curva Trucking LLC

                                 (D.N.J. No. 3-10-cv-01138)

  Present: CHAGARES, RESTREPO and SCIRICA, Circuit Judges

        1. Petition for Leave to Appeal pursuant to Fed. R. Civ. P. 23(f) filed by
           Petitioners Marco Eusebio, Andre Hall and Same Hargrove;

        2. Response in Opposition by Respondent to Motion Petition for Leave to Appeal
           pursuant to Fed. R. Civ. P. 23(f).



                                                                 Respectfully,
                                                                 Clerk/sb

  _________________________________ORDER________________________________
  The foregoing Petition for Leave to Appeal is granted.


                                                                 By the Court,

                                                                 s/Anthony J. Scirica
                                                                 Circuit Judge

  Dated: August 1, 2019
  Sb/cc: All Counsel of Record

                            A True Copy :

                                                                                        A True Copy :



                                                                                               Marcia M . Waldron, Clerk




                                 Patricia S. Dodszuweit, Clerk
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       UNITED STATES COURT OF APPEALS FOR THE THIRD CIRCUIT

                                              NOTICE

                 GRANT OF PERMISSION FOR LEAVE TO APPEAL

  The Court of Appeals has granted a petition for leave to appeal in this matter.

  The $505.00 docketing and filing fee must be paid in the district court within 14 days after the
  entry of the order granting permission for leave to appeal, unless the petitioner is the United
  States government. Fed. R. App. P. 5. In addition, a cost bond must be filed if one is required
  under Fed. R. App. P. 7.

  A notice of appeal does not need to be filed as a copy of the Court's order granting permission
  for leave to appeal which has been forwarded to the district court will serve as the notice of
  appeal.

  The entry date of the order granting permission to appeal serves as the date of the filing of the
  notice of appeal for calculating time under the Federal Rules of Appellate Procedure. Petitioner
  should notify the Court of Appeals in writing that the filing fee has been paid.

  Upon receipt of the notice from petitioner, the appeal will be opened on the general docket. All
  future filings regarding the appeal will be entered under the new docket number.

  Very truly yours,


  s/Patricia S. Dodszuweit,
  Clerk


  By: s/Stephanie
  Case Manager
  267-299-4926
